         Case: 1:11-cv-04785 Document #: 5 Filed: 07/15/11 Page 1 of 1 PageID #:9


             United States District Court for the Northern District of Illinois
                                           Revised 03/11/2008

   Case Number: 11cv4785                          Assigned/Issued By: RCC

   Judge Name: Gettleman                          Designated Magistrate Judge: Cox


                                        FEE INFORMATION


 Amount Due:             $350.00              $39.00               $5.00

                         IFP                  No Fee                Other _____________

                         $455.00

   Number of Service Copies ___________                  Date: ______________________
                                     (For use by Fiscal Department Only)

 Amount Paid: _______________                            Receipt #: __________________

 Date Payment Rec’d: _____________                       Fiscal Clerk: ________________

                                             ISSUANCES

     ✔    Summons                                                  Alias Summons

          Third Party Summons                                      Lis Pendens

          Non Wage Garnishment Summons                             Abstract of Judgment
                                                                   ___________________________
          Wage-Deduction Garnishment Summons                       ___________________________
                                                                       (Victim, Against and $ Amount)
          Citation to Discover Assets
                                                                    Other
          Writ _______________________                              _______________________
                    (Type of Writ)                                  _______________________
                                                                           (Type of issuance)

1
______Original                          07/15/11
               and __________ copies on ________________ as to ____________________________
                                                               Defendant
                                              (Date)
____________________________________________________________________________________

____________________________________________________________________________________
